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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                    TAMPA DIVISION

LEON FREDERICK,

       Plaintiff,

v.                                                             Case No: 8:18-cv-1971-T-36CPT

AMERICAN FIRST FINANCE, INC.,

      Defendant.
___________________________________/

                                            ORDER

       Before the Court is the Joint Stipulation of Dismissal with Prejudice (Doc. 14). In accord

with the Joint Stipulation of Dismissal with Prejudice, it is ORDERED AND ADJUDGED as

follows:

       1)      The Joint Stipulation of Dismissal with Prejudice is APPROVED (Doc. 14).

       2)      This cause is dismissed, with prejudice. Each party shall bear its own attorney’s

fees, costs and expenses.

       3)      The Clerk is directed to close this case.

       DONE AND ORDERED in Tampa, Florida on November 29, 2018.




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Counsel of Record
